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EXCLUSIVE: Rikers Island inmates save prison guard from rape by
fellow convict

BY REUVEN BLAU

NOW YORK DAILY NEWS iuesdoy, March 3} 2016, 230 4M

 

A group of inmates rescued a female correction officer who was nearly raped by a hulking prisoner inside a locked vestibule on Rikers Island Saturday night, The Daily News has
learned.

The inmates helped responding correction officers frantically tear away Plexiglas on the outside of the bubble-like watch post inside the Anna M. Kross Center at 8:15 p.m.,
according Lo multiple sources.

A skinny inmate slipped inside the so-called “A station” bubble through the small crack and opened the security door, A tean of inmates then took down the assailant, Raleck
Youny, 27, until other officers arrived,

During the attack, Young, who is 5-foot-9 and weighs 290 pounds, pulled down his pants and began masturbating while choking the officer, court records show.

SO SHE’S AT FAULT? RIKERS ISLAND BOSS APPEARS TO BLAME GUARD FOR GETTING SEXUALLY ASSAULTED (EXCLUSIVE)

‘THAD TO": INMATE TALKS SAVING GUARD FROM RAPE (EXCLUSIVE)

He dragged the officer into an adjacent bathroom and blocked her from opening the security door.

"The matter is under investigation,” said Correction Department spokeswoman Eve Kessler.

The majority of the attack was caught on video, a source who watched the tape said.

Young was able to get inside the bubble area after he claimed he needed to pick up a mattress in
another unit and had to pass through the watch post.

He's serving a five-to- 10-year sentence for raping a 13-year-old gir] in 2007, court records show.
Initially, jail brass labeled the attack a routine “use of farce” incident, records show,
EDITORIAL: INMATES SAVE THE ASYLUM AS RIKERS RUNS OUT OF CONTROL

That infuriated officers at the facility, who demanded it be labeled a sexual assault.

On Sunday, officers at the facility refused to go to their posts at the start of the 3 p.m. shift, sources
said.

Correction Officers Benevolent Association President Norman Seabrook came to the jail and

persuaded his members to go back to work after he promised to take up their cause, sources said

 

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The union president is furious Young wasn’t instantly rearrested and hit with added charges. He claims staff at the Bronx district attorney's office insisted the matter would be
handled after the weekend was over,

“There must be accountability,” Seabrook fumed Monday, “Officers are assaulted every day, and (Bronx DA Robert Johnson) has the audacity to say, ‘Not today, bring him back at
another time.’ T will not tolerate it. | will not stand for it."

Young was aniaigned Monday in Bronx Criminal Court. He is facing a slew of new charges, including: attempted rape, sexual abuse, forcible touching, and assault and harassment.

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The criminal complaint says Young ripped off the correction officer’s sweater and “placed his fips on her mouth and about her face.”

She was treated at a hospital after the attack.

The situation could have been a lot worse if it was bot for the inmates’ assistance, Seabrook admitted.

“L appreciate (them) helping a sister officer because that could have been their mother, wife or sister,” Seabrook said, noting 90% of the inmates “are there to do theit time and go
home.”

ON A MOBILE DEVICE? CLICK ITERE FOR VIDEO

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